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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION
IN RE:                                             CASE: R18-41030-PWB

DEBORAH JEAN HOBLEY                                                CHAPTER 13


Debtor


             Trustee's Motion to Dismiss Case for Failure to Make Plan Payments
   COMES NOW Mary Ida Townson, Standing Chapter 13 Trustee herein, and files this her
Motion to Dismiss Case for Failure to Make Plan Payments, respectfully showing the Court the
following.
                                             1.
   The Debtor filed for relief under Chapter 13 of Title 11 on May 01, 2018.
                                             2.
   The Debtor has failed to comply with the terms of the confirmed plan. As of October 08,
2019, the Debtor should have paid $5,950.00. The Debtor has paid a total of $4,800.00, causing
a delinquency of $1,150.00.

                                             3.
   The Debtor's case will extend longer than sixty (60) months, contrary to 11. U.S.C. §
1322(d).
   WHEREFORE, the Chapter 13 Trustee requests this case be dismissed.

Dated: 10/11/2019
                                                  Respectfully submitted,

                                                  _/s/___________________________
                                                  Albert C. Guthrie, Attorney
                                                  for the Chapter 13 Trustee
                                                  GA Bar No. 142399
                                                  285 Peachtree Center Ave, Suite 1600
                                                  Atlanta, GA 30303-1229
                                                  (404) 525-1110
                                                  albertg@atlch13tt.com
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION
IN RE:                                               CASE: R18-41030-PWB

DEBORAH JEAN HOBLEY                                                      CHAPTER 13


Debtor

Notice of Hearing on Trustee's Motion to Dismiss Case for Failure to Make Plan Payments

     PLEASE TAKE NOTE that the Chapter 13 Trustee has filed a Motion to Dismiss Case for Failure
to Make Plan Payments and related exhibits with the Court seeking an order of dismissal.
     PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on November 13, 2019 at
9:45 AM in Courtroom 342, Federal Building, 600 East First Street, Rome, GA 30161.
     Your rights may be affected by the Court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one). If you do not want the Court to grant the
relief sought in these pleadings or if you want the Court to consider your views, then you and /or your
attorney must attend the hearing. You may also file a written response to the pleading with the Clerk at
the address stated below, but you are not required to do so. If you file a written response, you must
attach a certificate stating when, how and on whom (including address) you served the response. Mail
or deliver your response so that it is received by the Clerk at least two (2) business days before the
hearing. The address of the Clerk’s Office is Clerk, U.S. Bankruptcy Court, Federal Building, 600
East First Street, Rome, GA 30161. You must also mail a copy of your response to the undersigned
at the address stated below.
Dated: 10/11/2019
                                                    Respectfully submitted,


                                                    _/s/___________________________
                                                    Albert C. Guthrie, Attorney
                                                    for the Chapter 13 Trustee
                                                    GA Bar No. 142399
                                                    285 Peachtree Center Ave, Suite 1600
                                                    Atlanta, GA 30303-1229
                                                    (404) 525-1110
                                                    albertg@atlch13tt.com



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                                 CERTIFICATE OF SERVICE

   This is to certify that on this day I caused a copy of the foregoing pleading to be served via
United States First Class Mail, with adequate postage thereon, on the following parties at the
address shown for each:
DEBORAH JEAN HOBLEY
35 SADDLE FIELD CIRCLE
CARTERSVILLE, GA 30121

I further certify that I have on this day electronically filed the pleading using the Bankruptcy
Court's Electronic Filing program, which sends a notice of this document and an accompanying
link to this document to the following parties who have appeared in this case under the
Bankruptcy Court's Electronic Case Filing program:

SLIPAKOFF & SLOMKA, PC

Dated: October 11, 2019
                                                  Respectfully submitted,


                                                  _/s/___________________________
                                                  Albert C. Guthrie, Attorney
                                                  for the Chapter 13 Trustee
                                                  GA Bar No. 142399
                                                  285 Peachtree Center Ave, Suite 1600
                                                  Atlanta, GA 30303-1229
                                                  (404) 525-1110
                                                  albertg@atlch13tt.com




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